825 F.2d 408Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Leon D. TYLER, Petitioner-Appellant,v.O. Ivan WHITE, Warden; United States Parole Commission;Federal Bureau of Prisons, Respondents-Appellees.
    No. 86-7408
    United States Court of Appeals, Fourth Circuit.
    Submitted June 16, 1987.Decided July 14, 1987.
    
      Leon D. Tyler, appellant pro se.
      Raymond Alvin Jackson, Office of the U.S. Attorney, for appellees.
      Before WIDENER, HALL and MURNAGHAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2241 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Tyler v. White, C/A No. 86-395-N (E.D. Va., Nov. 25, 1986).
    
    
      2
      AFFIRMED.
    
    